        Case 1:24-cv-00985-JLT-SAB Document 24 Filed 06/06/24 Page 1 of 11


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

OLABISI BODUNDE, individually and on behalf of               Case No. 1:24-cv-02437
all others similarly situated,
                                                             Judge John Robert Blakey
                                Plaintiff,

        v.

WALGREENS BOOTS ALLIANCE, INC.,

                                Defendant.


                                    JOINT STATUS REPORT
        Plaintiff Olabisi Bodunde (“Plaintiff”) and Defendant Walgreens Boots Alliance

(“Walgreens”) by and through counsel, submits this Joint Status Report pursuant to this Court’s

Order entered May 20, 2024. See ECF No. 17.

   1.        TYPE OF INITIAL STATUS REPORT

        The Parties submit a joint initial status report.

   2.        SERVICE OF PROCESS

        Plaintiff has completed service on Defendant Walgreens. Walgreens was served on March

   27, 2024. ECF No. 8.

   3.        NATURE OF THE CASE.

             A. Identity of Attorneys of Record for Each Party.

 For Plaintiff                                       For Defendant

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      Case 1:24-cv-00985-JLT-SAB Document 24 Filed 06/06/24 Page 2 of 11


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           B. Federal Jurisdiction: Diversity Jurisdiction. Plaintiff asserts that this Court has

subject matter jurisdiction over this class action pursuant to 28 U.S.C. § 1332(d)(2) because the

aggregate claims of the putative Class and Subclass allegedly exceed $5,000,000, minimal

diversity is alleged as at least one of the members of the proposed classes is a citizen of a different

state than Walgreens, and there are allegedly more than 100 members of the Class. Plaintiff alleges

that she and members of the putative Nationwide Class and Subclasses paid for benzoyl peroxide


                                                  2
      Case 1:24-cv-00985-JLT-SAB Document 24 Filed 06/06/24 Page 3 of 11


acne products that are economically worthless. Upon information and belief, Plaintiff estimates

that there are hundreds of thousands of individuals that are members of the proposed Classes.

Walgreens acknowledges that the Complaint sufficiently alleges a basis for the Court’s subject

matter jurisdiction.

           C. Nature of the Claims. This putative class action lawsuit is brought by Plaintiff,

who seeks to represent all consumers who purchased various benzoyl peroxide acne products

manufactured, distributed, and sold by Walgreens (the “Products”). Plaintiff alleges that the

Products contain benzoyl peroxide which degrades to form dangerously high levels of benzene, a

carcinogenic impurity that has been linked to leukemia and other cancers, rendering the products

unsafe and illegal to sell, and therefore worthless. Based on the above premise, Plaintiff asserts

three claims for relief against Walgreens, including: (1) violation of the Illinois Consumer Fraud

and Deceptive Trade Practices Act, 815 ILCS 505/1, et seq.; (2) unjust enrichment; and (3)

violations of state consumer fraud acts. There are no counterclaims or third-party claims.

       On May 30, 2024, Walgreens filed a Motion to Dismiss arguing: (1) Plaintiff lacks injury-

in-fact and Article III standing as her alleged injury is based on a hypothetical past potential risk

of harm resulting in economic losses; (2) Plaintiff lacks Article III standing to assert claims

regarding products she did not purchase; (3) Plaintiff’s claims are pre-empted by 21 U.S.C.

§ 379r(a) of the Food, Drug, and Cosmetic Act as she does not allege that the Products did not

comply with the Food and Drug Administration (“FDA”) monograph for topical over-the-counter

(“OTC”) benzoyl peroxide (“BPO”) acne drugs (“Acne Monograph”); (4) Plaintiff’s claims are

barred by the Illinois Consumer Fraud and Deceptive Trade Practices Act (“ICFA”) safe harbor

provision; (5) Plaintiff has failed to plausibly allege that the Products she purchased contained




                                                 3
      Case 1:24-cv-00985-JLT-SAB Document 24 Filed 06/06/24 Page 4 of 11


benzene; and (6) Plaintiff lacks Article III standing to pursue injunctive relief as she cannot

establish a real and immediate threat of future injury.

             D. Major Legal and Factual Issues. Plaintiff asserts the following legal and factual

issues, whether: (1) the Products contain dangerously high levels of benzene making the Products

unfit for human use and therefore unfit for their intended purpose; (2) Walgreens knew or should

have known the Products contained or were at risk of containing elevated levels of benzene prior

to selling them, thereby constituting fraud; (3) Walgreens is liable to Plaintiff and the Classes for

unjust enrichment; (4) Plaintiff and the Classes have suffered monetary loss and the proper

measure of that loss; (5) Plaintiff and the Classes are entitled to declaratory and injunctive relief;

(6) Plaintiff and the Classes are entitled to restitution and disgorgement from Walgreens; and (7)

the marketing, advertising, packaging, labeling, and other promotion materials for the Products are

deceptive.

       Walgreens asserts the following legal and factual issues, whether: (1) the Products were

manufactured in accordance with the Acne Monograph; (2) the Products were labeled in

accordance with the Acne Monograph; (3) 21 U.S.C. § 379r(a) acts to bar Plaintiff's claims which

seek to impose requirements that are “different from,” “in addition to,” or “otherwise not identical”

with federal labeling requirements; (4) the Products purchased by Plaintiff or members of the

putative class actually contained benzene; and (5) other legal and factual issues identified by the

Parties as litigation progresses.

       Additionally, on May 22, 2024, a petition was filed to the JPML by numerous plaintiffs for

a motion for transfer of actions for coordinated pretrial proceedings pursuant to 28 U.S.C. § 1407

(“MDL petition”). See MDL 3120, In re Benzoyl Peroxide “BPO” Marketing and Sales Practices




                                                  4
           Case 1:24-cv-00985-JLT-SAB Document 24 Filed 06/06/24 Page 5 of 11


Litigation, Dkt. No. 1. The parties foresee that the present action may be included in the schedule

of actions and whether this matter should be stayed pending MDL determination.

              E. Type and Calculation of Damages and Other Relief. Plaintiff seeks actual

damages. Plaintiff alleges that the Products were adulterated and illegally sold, and therefore are

worthless. As a result, Plaintiff seeks damages in the form of a full refund for the price of the

products purchased. In addition, Plaintiff seeks equitable monetary relief, injunctive relief,

punitive damages, attorneys’ fees, costs and expenses, and any other such relief the Court deems

proper. Plaintiff intends to offer expert testimony in connection with Plaintiff’s motion for class

certification, including an expert report(s) setting forth Plaintiff’s proposed method for calculating

class-wide damages.

      4.      PENDING MOTIONS AND CASE PLAN

              A. Pending Motions. The following motions are pending: (a) Plaintiff’s Opposition

to Walgreens’ Motion to dismiss Plaintiff’s Complaint is due by June 27, 2024. (b) Walgreens’

Reply in Support of the Motion to Dismiss Complaint is due by July 18, 2024.

           Plaintiff has filed an unopposed Motion to Stay pending MDL Determination. Dkt. No. 22.

In the event this Court agrees to stay the proceedings during the MDL determination, Plaintiff

respectfully requests that the Parties file a revised status report upon the MDL ruling, in lieu of

setting discovery deadlines at this stage.

              B. Proposal for Discovery. No discovery has been taken to date.

(i)        Walgreens’ Position: Given the significant legal issues presented in the Motion to Dismiss,

including issues relating to standing, pre-emption, and the safe harbor provision of ICFA,

Defendant requests that all discovery deadlines by postponed until after resolution of the Motion




                                                    5
       Case 1:24-cv-00985-JLT-SAB Document 24 Filed 06/06/24 Page 6 of 11


to Dismiss. The Parties will then submit a discovery plan and proposed schedule within 30 days

of the Court’s order on the motion to dismiss.

       Should the litigation proceed, Walgreens anticipates the need to conduct written and oral

discovery on, without limitation, the following areas: (i) Plaintiff’s history of purchasing acne

treatment products; (ii) information and materials Plaintiff reviewed prior to purchasing the

Products; (iii) information and materials related to how Plaintiff stored the Products; (iv)

information and materials relating to Plaintiff’s testing of the Products for benzene; and (v) other

issues related to Plaintiff’s typicality and adequacy as a class representative.

       Walgreens anticipates that a protective order will be necessary for discovery and, should

this case proceed to discovery, will be prepared to file a proposed protective order. It is unclear at

this point whether HIPAA waivers will be necessary in the present action.

       Walgreens agrees with Plaintiff’s position that discovery deadlines should not be set at the

present time. In the event that the Court does not agree to stay the proceeding pending resolution

of the Motion to Dismiss (as requested by Walgreens) or the MDL determination (as requested by

Plaintiff), Walgreens does not oppose Plaintiff’s proposed schedules. Walgreens notes, however,

that the scope of discovery will depend greatly on the Court’s ruling on the Motion to Dismiss.

Moreover, the timing of discovery will depend both on the Court’s ruling on the Motion to Dismiss

and the nature of Plaintiff’s discovery requests.

(ii)   Plaintiff’s Position: Plaintiff anticipates the need to conduct written and oral discovery,

including electronic discovery, on, without limitation, the following areas: (i) pricing, sales data,

and profits related to the sale of the Products; (ii) marketing and advertising materials used in

connection with the Products; (iii) internal documents and communications regarding the creation

of, sale, marketing, and advertising of the Products; (iv) internal documents and communications



                                                    6
      Case 1:24-cv-00985-JLT-SAB Document 24 Filed 06/06/24 Page 7 of 11


regarding the testing of the Products for benzene; and (v) all internal documents describing or

relating to Walgreens’ process and methods for producing and manufacturing the Products.

       Plaintiff anticipates that a protective order will be necessary for third-party discovery, and

will be prepared to file a proposed protective order. Plaintiff does not anticipate the need for

HIPAA waivers in the present action.

       Plaintiff respectfully request discovery deadlines be postponed until the MDL

determination as has been requested in Plaintiff’s unopposed Motion to Stay pending MDL

Determination. (See Dkt. No. 22). The Parties will then submit a discovery plan and proposed

schedule within 30 days of the Court’s order. In the event this Court does not agree to stay the

proceedings, Plaintiff proposes the deadlines identified in the “Proposed Deadline” column of the

table below.

                        Discovery Item                      Proposed Deadline
               Rule 26(a)(1) disclosures             July 8, 2024
               Initial Written Discovery             July 22, 2024
               Requests
               Protective Order                      August 05, 2024
               Plaintiff’s Motion for Class          April 4, 2025
               Certification and Disclosure of
               Class Certification Experts
               Walgreens’ Opposition to              June 3, 2025
               Class Certification and
               Disclosure of Rebuttal Class
               Certification Experts
               Plaintiff’s Reply In Support of       August 5, 2025
               Class Certification
               Fact Discovery Completion             90 days after the Court’s ruling
                                                     on Plaintiff’s Motion for Class
                                                     Certification
               Expert (Merits) Disclosures           30 days after the close of fact
               (on issues for which a party          discovery
               bears the burden of proof)
               Rebuttal (Merits) Disclosures         30 days after disclosure of
                                                     merits experts Certification,
               Expert Discovery Completion           30 days after disclosure of
                                                     rebuttal experts

                                                 7
         Case 1:24-cv-00985-JLT-SAB Document 24 Filed 06/06/24 Page 8 of 11


               Motions for Summary                     30 days after the close of expert
               Judgment and Daubert                    discovery
               Motions
               Oppositions to Motions for              45 days after opening briefs
               Summary Judgment and
               Daubert Motions
               Replies In Support of Motions           21 days after opposition briefs
               for Summary Judgment and
               Daubert Motions
               Motions in Limine                       60 days after the Court’s ruling
                                                       on Motions for Summary
                                                       Judgment
               Pretrial Conference                     30 days after filing of Motions
                                                       in Limine
               Trial                                   21 days after Pretrial
                                                       Conference

            C. Trial. Plaintiff has requested a jury trial. The Parties anticipate the trial will take

ten days if class certification is granted, and four days if class certification is denied.

    5.      CONSENT TO PROCEED BEFORE A MAGISTRATE JUDGE

            The Parties does not consent to proceed before a magistrate judge.

    6.      SETTLEMENT CONFERENCE

            The Parties have not had discussions regarding settlement. The Parties do not request

a settlement conference at this time.

Dated: June 6, 2024                                      Respectfully submitted,
                                                         BURSOR & FISHER, P.A

                                                         By:     /s/ Philip L. Fraietta________

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                                                   8
      Case 1:24-cv-00985-JLT-SAB Document 24 Filed 06/06/24 Page 9 of 11



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Dated: June 6, 2024                       Respectfully submitted,


                                          By:    /s/ Brian D. Straw________

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                                      9
Case 1:24-cv-00985-JLT-SAB Document 24 Filed 06/06/24 Page 10 of 11


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                                10
     Case 1:24-cv-00985-JLT-SAB Document 24 Filed 06/06/24 Page 11 of 11


                               CERTIFICATE OF SERVICE


       I, Philip L. Fraietta, hereby certify that on June 6, 2024 a copy of the foregoing document

was filed electronically using the CM/ECF System.

                                                    /s/ Philip L. Fraietta
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                                               11
